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                        IN THE UNITED STATE DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUAN A. SIFUENTES                                     )
                                                      )
               Plaintiff,                             )
                                                      )
vs.                                                   ) Case No.
                                                      )
ALY A. AHMED and K1 LOGISTICS, INC.                   )
                                                      )
                       Defendants                     )

                            DEFENDANT’S NOTICE OF REMOVAL

       Defendant K1 Logistics, Inc., by and through its attorney, Lauren M. Penn of Litchfield

Cavo LLP, for its Notice of Removal of this civil action from the Circuit Court of Cook County,

Illinois to the United States District Court for the Northern District of Illinois, Eastern Division,

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, states as follows:

       1.      Plaintiff Juan Sifuentes filed his Complaint against Defendants Aly Ahmed and K1

Logistics in the Circuit Court of Cook County, Illinois on June 30, 2020. See Exhibit A, Sifuentes’

Complaint.

       2.      Sifuentes’s Complaint alleges that he sustained injuries in an August 6, 2019 motor

vehicle accident in Cook County, Illinois involving a truck operated by Ahmed. Sifuentes’s

Complaint further alleges that at the time of the accident Ahmed was operating the vehicle within

the scope of his employment by K1 Logistics. Id.

       3.      K1 Logistics was served with Sifuentes’s Complaint on July 24, 2020. See Exhibit

B, proof of service.

       4.      This Notice of Removal is timely under 28 U.S.C. 1446(b). This Notice of

Removal has been filed in the district and division serving the location of the state court action



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within 30 days of K1 Logistics being served with Sifuentes’s Complaint.

       5.      There is complete diversity among the parties in this cause of action:

       a.      Defendant K1 Logistics is a corporation incorporated in Texas with its principal

               place of business in Texas. See Exhibit C, Texas Comptroller Franchise Tax

               Account Status for K1 Logistics.

       b.      Defendant Aly A. Ahmed is a citizen of Texas.

       c.      Plaintiff Juan Sifuentes is a citizen of Illinois.

       6.      The amount in controversy exceeds $75,000. Sifuentes’ attorney has represented to

Defendant’s attorney that as a result of the subject accident he sustained aggravations of cervical

disc herniations, that surgery is likely necessary for these injures, and that he has not been able to

work since January 2020.

       7.      Juries in Illinois have awarded amounts in excess of $75,000 in cases involving

injures similar to those alleged by Sifuentes:

      $399,998 for a herniated disc requiring lumbar fusion surgery in Bounds v. Chicago Transit

       Authority.

      $3,681,000 for aggravation of a disc disease resulting in fusion surgery in Edelen v.

       Superior Corporation of Illinois.

      $4,088,470 for a cervical annular tear which required fusion surgery and other injures in

       Moore v. Chicago Transit Authority.

      $1,301,048 for aggravation of a disc herniation condition in Santos v. Briner.

      $110,000 for lumbar disc herniations or aggravation of a pre-existing disc herniation in

       Sieminski v. Sutton.

      $210,568 for a disc herniation at C5-C6 requiring surgery in Soine v. Kinzinger.


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See Jury Verdicts, Exhibit D.

       8.      Defendant Ahmed has not been served with Sifuentes’ Complaint.

       9.      K1 Logistics will file a written notice of filing of this Notice of Removal with the

Clerk of the Circuit Court of Cook County, Illinois, after the filing of this Notice, and will serve

the same on Plaintiff pursuant to 28 U.S.C. § 1446(d).

       10.     Because K1 Logistics has set forth the requirements of 28 U.S.C. §§ 1332, 1441,

and 1446, this Court may exercise its original jurisdiction and remove the pending state court case

to the United States District Court for the Northern District of Illinois, Eastern Division.

       Wherefore, Defendant K1 Logistics hereby removes this action from the Circuit Court of

Cook County, Illinois, and prays that this action proceed in the United States District Court for

the Northern District of Illinois, Eastern Division.

                                                       Respectfully Submitted,

                                              By:      /s/ Lauren Penn
                                                       Attorney for Defendant
                                                       K1 LOGISTICS, INC.
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                                CERTIFICATE OF SERVICE


       The undersigned, under penalties as provided by law, certify that I have caused to be served

Defendant’s Notice of Removal by electronic filing via the CM/ECF system on August 21, 2020,

and by having same emailed to the following attorney:

       Daniel E. O’Brien
       O’Brien Law LLC
       115 Campbell Street
       Suite 100
       Geneva, IL 60134
       dan@genevainjurylaw.com


                                                     /s/Lauren Penn




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